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                                                                       2023 Aug-18 PM 04:47
                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA


           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ALABAMA
                    SOUTHERN DIVISION
MARCUS CASTER, et al.,
        Plaintiffs,

               vs.                    No. 2:21-cv-01536-AMM

WES ALLEN, et al.,
        Defendants.

EVAN MILLIGAN, et al.,
        Plaintiffs,

               vs.                    NO 2:21-cv-01530-AMM

WES ALLEN, et al.,
        Defendants.


           DEFENDANTS’ NOTICE OF FILING EXHIBIT
     Come now defendant intervenors, Rep. Chris Pringle and Sen. Steve

Livingston, and give notice of filing the transcript with exhibits of the

Reappointment Committee meeting and public hearing on July 13, 2023,

Exhibit B-3.


     Respectfully submitted this this 18th day of August, 2023.


                                  /s/ Dorman Walker__________
                                  Dorman Walker (ASB-9154-R81J)
                                  BALCH & BINGHAM LLP
                                  Post Office Box 78 (36101)
                                  455 Dexter Avenue
                                  Montgomery, AL 36104
      Case 2:21-cv-01530-AMM Document 266 Filed 08/18/23 Page 2 of 2




                                   Telephone: (334) 269-3138
                                   Email: dwalker@balch.com

                      CERTIFICATE OF SERVICE

     I hereby certify that this the 18th day of August 2023 I electronically

filed the foregoing notice with the clerk of the Court using the CM/ECF

system, which will send notice to all counsel of record.

                                   /s/Dorman Walker




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